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iN THE UNITED sTATEs DISTRICT COURT 05
FOR THE WESTERN DISTRJCT oF TENNEssEE JUL f 3 PH 3= 13

 

 

  

WESTERN DIVIsIoN
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n ust!§ lilii":{¢' .];'i'y '::1_~\ CO`JWI
DANNY L. DEATON, ' 1 ~-»i» H:S
Plaintiff,
v. ‘ No. 99-2315_13
LIEUTENANT cORNELL' DYE,

OFFICER JOSEPH N. JOHNSON,
OFFICER MICHAEL SPEARMAN
And OFFICER KAM WONG

Defendants.

m JOINT PRE-TRIAL ORDER

 

Come now the parties hereto and submit their Joint Pre-Trial Order.
PARTIES
The Plaintiff`, Danny Deaton is represented by John Barry Burgess and David Sweeney.
The Defendants, Joseph N. Johnson, Kam Wong, Michael Spearrnan and Comell Dye are
represented by Thomas E. Hansoni and Jean Markowitz.
JURISDICTION

There are no jurisdictional questions remaining

PENDING MOTIONS
There are no motions currently pending.

MOTIONS IN LIMINE

Defendants have filed Motions in Limine regarding objections to Dr. Davis’ deposition

This document entered on the docket sheet in compt'iance

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lwith Rule 58 and/or 79{a) FRCP on

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and Plaintiff’s trespass claim.

CONTENTIONS OF THE PARTIES
Contentions of the Plaintiff`:

The Plaintiff contends that on or about September 23, 1998, in the very early moming
hours, the Plaintiff Was lawfully sleeping at his home, which was then located at 4047 Grey, in
Memphis, Shelby County, Tennessee. At or about that time, Memphis Police Officer,
Christopher Lovwance made a series of calls the MPD dispatcher related to a traffic stop made by
him. He reported an exchange of gunfire Whereupon he Was struck by one of the bullets The
dispatcher placed a call on all frequencies for available cars with the expectation that all available
cars would respond Officer Lowrance’s ticket book was located by other officers and a
description of a suspect, being Richard Johnson, male, white with a beard wearing a plaid shirt
and driving a brown 1985 Oldsmobile. Richard .lohnson’s address was reported to be 4027 Grey.
In excess of 50 police officers from all over the l\/lemphis area proceeded to Grey Road to assist
with the search for the suspect, Richard Johnson. The Defendants, Joseph N. .lohnson
(hereinafter "Johnson"), Kam Wong (hereinafter "'Wong"), and Michael Spearman (hereinatier
"Spearman") were among the officers that Went to Grey Road. The officers Were unable to locate
the address 4027 Grey. Eventually, one or more police officers spoke to Mr. Elmer C. Gray, Jr.
who lived at 1492 North Graham, on the comer of Grey and North Graham, Which is next door to
the residence of Danny Deaton at 4047 Grey. Elmer Gray witnessed squad cars passing by his
home. He stepped out his back door and remained by the door. He spoke to police officers and
advised them regarding what he had seen. (Because this Court has ruled that the officers did not
have probable cause to enter the resdence next door at 4047 Grey, the parties agree that the court

should provide appropriate instruction to the jury during the trial to avoid any potential jury

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confusion related to these issues.) In the front yard of the residence at 4047 Grey, officers
encountered one of the occupants of that home, Charles Benson and another individual, Jeff
Simpkins who were forced to lie on the ground by officer. The police officers in question,
Johnson, Wong, Spearman and others illegally entered the premises at 4047 Grey without any
warrant, probable cause, permission or any other authority. After entering the premises, of '1cers
Johnson, Wong and others illegally entered the bedroom occupied by the Plaintiff, Danny Deaton
surprising him. Said officers entered the bedroom pointing weapons, including a shotgun,
toward Mr. Deaton. They immediately accosted Mr. Deaton in a violent and unlawful fashion
and thereafter began beating him. The beating administered to Danny Deaton was excessive and
wholly unjustified Said police officers entered the residence and bedroom ofthe Plaintiff,
Danny Deaton even though he was totally innocent of any wrongdoing Police officers including
Spearman, Johnson, Wong and Cornell Dye were guilty of additional acts of wrongdoing by their
failure to intercede and prevent the use of excessive force by officers who were administering the
unjustified blows to the Plaintiff, Danny Deaton.

Although literally dozens of officers went to the location at 4047 Grey, there was no
supervision present at the time of the entry of the residence. The Lieutenant_. Cornell Dye was
dispatched to the scene but did not arrive until after Mr. Deaton was being removed from the
house. Thereafier he failed to intercede to secure medical treatment for Mr. Deaton who was
observed to be bleeding.

That the aforementioned acts by the Defendants including Willfully and maliciously
entering his residence illegally, pointing their guns at the Plaintiff, violently beating and injuring
the Plaintiff Without any cause ofjustification placed the Plaintiffin mortal fear for his life and

further subjected him to serious personal injury needing immediate medical attention which was

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initially denied by the aforementioned police officers

Following the illegal trespass the Plaintiff was wrongfully and unlawfully arrested,
detained, and imprisoned against his will although he had committed no crime. At the time of
said arrest and imprisonment, l\/lr. Deaton was assaulted, battered and subjected to excessive
force. Said arrest was perpetrated by arresting officers Wong and Johnson even though they had
no probable cause, warrant or other legal authority for making the arrest.

Thereafter, the physical and emotional abuse of the Plaintiff continued as he was removed
from the residence with undue force wearing only his underwear in front ofa crowd of police
officers and others who had gathered on the lawn denying the PlaintiffDanny Deaton an
opportunity to dress himself before Willfully, intentionally and outrageously subjecting him to
extreme humiliation, anguish and emotional distress with no regard for his physical injury and
bleeding wounds which had been inflicted unlawfully and criminally by Defendant police
officers inside the residence This humiliation was exacerbated by Defendants’ failure to afford
Mr. Deaton an opportunity to use the restroom, which resulted in him soiling himself. He was
further denied the opportunity to clean himself thereafter. The Defendants also permitted local
news media to film Mr. Deaton while under arrest and wearing only his underwear.

After Plaintiff was brutally beaten and humiliated, Defendants denied necessary` needed
and requested medical attention in disregard for the serious medical needs of their prisoner.
Defendant officers with custody of Mr. Deaton instead transported Mr. Deaton, while still in his
underwear, to another location, supposedly in relation to the crime for which Mr. Deaton was
suspected, criminal attempt felony pursuant to Tennessee Code Annotated § 39-12-10] to wit:
murder. Without justification', Mr. Deaton was transported to a scene that was allegedly related

to the reported shooting of Memphis Police Officer, John C. "Chris" Lowrance. At that location,

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l\/Ir. Deaton was questioned with reference to the reported shooting of Officer Lowrance, in total
disregard for the Plaintiff‘s wounds which were still bleeding. lt is only after the Plaintiff was
questioned for some time at this remote location before he was finally permitted medical
attention. An ambulance was called which is when Mr. Deaton was video taped.

He was transported to The Med where he was treated for his injuries, which included
lacerations to his face, bruises about his face and body and a fracture ofthe right side ofhis L-2,
L-3 transverse process of his spine.

While receiving treatment at The Med, he was still in the custody of Memphis Police and
under arrest for suspicion of the crime reported by Officer John Lowrance. Thereafter the
Plaintiff was transported to the Shelby County Criminal Justice Complex where police
authorities continued to hold him without lawful process, probable cause or any other legal
justification Af`ter several hours of detention, the PlaintiffDanny Deaton was finally released
when Memphis Police authorities apparently decided that a mistake had been made and that the
Plaintiff Danny Deaton was totally innocent of any wrongdoing

Memphis Police, including Defendants, Johnson, Wong and Spearman were wholly
unjustified in entering the premises at 4047 Grey or arresting the plaintiff`, Danny Deaton for
reasons including but not limited to the fact that the report issued by Lowrance described an
individual with a totally different name, address, physical description and description of vehicle
driven by the alleged suspect. Police officers had no basis for entering the premises at 4047
Grey.

The Defendants could have easily ascertained that neither Danny Deaton nor any one else
located at 4047 Grey were in any way involved had the named Defendants and/or other involved

Memphis Police personnel exercised any diligence in the performance oftheir duties and had not

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wholly failed to make factual investigation of the aforementioned charge in violation of the civil
rights of the Plaintiff.

That as a result of the excessive force perpetrated by Defendants above, the Plaintiff
Danny Deaton was caused to incur medical expenses for treatment at The Med. As a result of
the misconduct here and before described, the Plaintiff Danny Deaton experienced humiliation,
emotional distress and anguish, physical and mental pain and suffering and has incurred medical
expenses related to his physical injuries.

The wrongdoing alleged above constitutes a violation of Mr. Deaton’s constitutional
rights pursuant to the 4"‘ and 14th amendments to the U.S. Constitution and 42 U.S.C. 1983. Said
actions, including but not limited to the trespass and unlawful entry ofhis residence7 excessive
force, false arrest and imprisonment, willful and reckless refusal to attend to the serious medical
needs of the Plaintiff, outrageous conduct/ intentional infliction of emotional distress and assault
and battery ofthe Plaintiff also constitute violations ofthe laws ofthe State of Tennessee
entitling Plaintiff to recovery from individual Defendants herein. The violations ofthe Plaintiff‘s
civil rights and injuries suffered by him were caused by the actions of the individual Defendants
described above.

As a consequence of the abuses detailed above, the Plaintiff has sustained serious
damages as hereinbefore alleged At the time that Mr. Deaton was injured, the Defendant
Officers Wong, Spearman and Johnson were part of a larger uncontrolled group of officers
who were all searching for officer Lowrance’s alleged assailant and it is Plaintiff’s
contention that the Defendants’ actions were tantamount to participation in a vigilante
mob seeking retribution for the perceived shooting of a fellow officer. (Defendants object to

the inclusion of this language in the final Pre-'I`rial Order) The individual Defendants with

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custody of Mr. Deaton failed to protect him from the actions of other officers in violation of his
civil rights.

Any degree of investigation on the scene would have disclosed that Mr. Deaton was not
the man being sought. A search ofthe premises disclosed no weapon, no plaid shirt or a brown
Oldsmobile containing bullet holes. Other persons on the scene could identify Mr. Deaton as
Danny Deaton, not Richard .lohnson.

Contentions of Defendant Officers:

On or about September 23, 1998, Officer Chris Lowrance of the Memphis Police
Department notified the Memphis Police Department Dispatcher that he was making a traffic
stop at or near Wells Station and Chelsea in Memphis, Shelby County, Tennessee. He
subsequently advised the dispatcher that he had been shot and the suspect had driven away
When other officers responded to the location of Officer Lowrance, they received information
indicating that the suspect had driven away in an Oldsmobile Cutlass with drive out tags and that
the suspect was a male white with a beard They further received information that the suspect
might reside at 4027 Gray Road based on information written in Officer Lowrance’s ticket book.

Several officers immediately proceeded to patrol the area around the shooting incident and the
residential area of Gray Road. They could not locate a residence or address corresponding to the
information received While searching the area, officers received information from citizens in

the area that a suspect matching the description was seen coming out of a ditch, going into the

front yard of 4047 Gray Road.

Officers Wong and Johnson entered the residence along with other officers and were
apparently the first inside the Plaintiff"s darkened bedroom. Officer .lohnson was holding a

shotgun on the Plaintiff. As Officer Wong was attempting to handcuff the Plaintiff, he was

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Struck causing him to fall. There were multiple other Memphis Police Department officers
around the Plaintiff as Officer Wong fell.

Other Officers had entered the bedroom and the Plaintiff was restrained and removed
immediately.

Officer Wong reported what had happened as well as the injuries to the Plaintiff to a
supervisor after the Plaintiff had been taken to the scene of the alleged shooting An ambulance
was summoned and the Plaintiff was treated and transported to the MED. Officer Johnson also
was forthcoming about the incident. Neither of them could identify anyone who had struck the

Plaintiff
Officer Spearman did not enter the Plaintiff`s bedroom. Officer Dye did not enter the

residence. None of the officers named as Defendants struck the Plaintiff.

STIPULATEI) FACTS

1. That the Officers were employed by the City of Memphis Police Department and were
on duty and acting in their official capacities at the time alleged in the Complaint.

2. The incidents in question all occurred on Septernber 23, 1998 in Memphis, Shelby
County and within the Western District of Tennessee.

3. Officer John (Chris) Lowrance reported to MPD dispatch that he made a traffic stop
on a dirt road near intersection of Wells Station and Chelsea.

4. Lowrance later called for help, reporting that he had been fired upon by a suspect and
he returned fire. Lowrance reported that he had been shot.

5. MPD dispatch broadcast a call on all frequencies for available cars to respond

6. After officers responded and officer Lowrance’s ticket book was located, information
was broadcast by the MPD dispatcher that the suspect was Richard Johnson, male-white with a

beard, of 4027 Grey Road, wearing a plaid shirt and driving a brown 1985 Oldsmobile with expired

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drive out tags.
7. Additional officersjoined the search and converged on Grey Road.
8. The address reported as 402? Grey Road could not be located
9. John Christopher Lowrance is now deceased for reasons unrelated to this incident.

CONTESTED ISSUES OF FACT

Plaintiff’s Contested issues of fact:

1. Whether Defendant officers used excessive force.

2. Whether the Defendant officers were guilty of tresspass.

3. Whether Defendant officers assaulted and/or battered Danny Deaton.

4. Whether Defendants were guilty of intentional infliction of emotional distress

and/or outrageous conduct.
5. Whether DannyDeaton was guilty of any wrongdoing
6. Whether any of the Defendants violated the Plaintiff’s rights under 42 U.S.C. §

1983 or the 4"‘ or 141h Amendments to the U.S. Constitution.

7. Whether Danny Deaton sustained injury as a result of any of his rights being
violated
8. Whether and to what extent Danny Deaton was by injured Defendants while being

taken into custody and thereafter.

9. Whether there was anyjustification for removing Danny Deaton from his
residence wearing only boxer short, refusing to allow him to dress, refusing access to a restroom

and/or allowing him to be video-taped

10. Whether the Defendant officers were guilty of disregarding the obvious and

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serious medical needs of the Plaintiff.

11. Does any of the Defendant’s conduct entitle Plaintiff to punitive damages

12. Whether the Plaintiff experienced physical, mental and emotional pain and
suffering and humiliation as a result of the actions of the Defendants and, if so, to what degree.

13. Whether the Plaintiff incurred reasonable and necessary medical and other
expenses as a result of the acts of the Defendants and , if so, in what amount.

14. Whether the Plaintiff is entitled to damages, either compensatory or punitive and,
if so, in what amount.
Defendant Officers’ Contested issues of fact:

1. Whether the actions of the Officers constituted excessive force.

2. Whether the actions of the Officers constituted mere negligence

3. Whether the actions of the Officers were objectively reasonable and taken in good
faith and they are entitled to qualified immunity.

4. Whether the actions of these Defendants constituted assault and battery.

5. Whether the delay in medical treatment constituted a denial of adequate medical
treatment

6. Whether Plaintiff suffered physical harm and irreparable emotional injury,

CONTESTED ISSUES OF LAW

Plaintifi"s Contested issues of law:

1. Any issues of law implicit in the contentions of the parties or contested issues of
fact above.
2. Whether the Plaintiff has a claim for the violation of his rights pursuant to 42

U.S.C. § 1983, and the 4"' and 14th Amendments to the U.S. Constitution.

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3. Whether the Plaintiff has established claims for violations of his rights under the
laws of the State of Tennessee.
4. Whether the Plaintiff is entitled to Attorney Fees and Costs and, if so, in what

amOllI‘lf.

Defendant Officers’ Contested Issues of Law

1. Whether the Plaintiff has stated a cause of action pursuant to 42 U.S.C. § 1983 for a
Fourth Amendment claim of excessive force or Fourteenth Amendrnent claim for inadequate
medical treatment.

2. Whether the Officers acted in an objectively reasonable manner, with good faith, and
are entitled to qualified immunity.

3. Whether the officers are entitled to immunity as to state claims of assault and battery.

4. Whether Plaintiff has sufficient proof of a severe mental injury to support an

intentional infliction of emotional distress claim.

EXHIBITS
Plaintiff Exhibits:
Witness statement of Delola Wright
Medical records and bills of Danny Deaton from Regional Medical Center
Photographs of Danny Deaton and dog
Photos of Danny Deaton’s injuries
Photographs of 4047 Grey Street
Memphis Police Department lncident Report
Video Footage taken by various News agencies on scene on September 23, 1998

Audio tape recordings of Police communications on date of incidents

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lnternal Affairs/ Security Squad and any other records of MPD investigations regarding Danny
Deaton Arrest

Internal Affairs/l Security Squad and any other records of MPD investigations regarding alleged
shooting of John Lowrance

Internal Affairs and any other records of MPD investigations and/or disciplinary proceedings
regarding Defendants, John Lowrance, Kam Wong, Cornell Dye, Michael Spearman or Joseph
Johnson

l\/lernphis Police Department Precinct Working Files

MPD policy and procedure manuals and/or documents pertaining to issues raised in Complaint
MPD training manuals, materials and/or documents pertaining to issues raised in Complaint

Basic In-service Training for Defendant Officers

MPD Uniforrn Patrol Division Call Logs/ Roll Call Sheets of all officers listed above as potential
witnesses and/or responding to the incidents in question on September 23, 1998

Dispatch tape and computer printout of calls to officers for entire event

Training records of Wong, Spearman, Dye and Johnson

Statement of Charges, Administrative Summons, Hearing Summary Forrn I, Administrative
Summons (Appeal), Commanding Officer’s Performance Report re: Wong, Dye, Spearman and

Johnson

The Training Material for the 23red PST and 69th Basic Recruit Class of the Memphis Police
Department attended by Wong, Dye, Spearman and Johnson

Statement of Danny Deaton.

Statement of Officer Lowrance.
Photographs of the shotgun.
Arnbulance Service Transport Records.

Any exhibits or documents listed by any other party in disclosures or otherwise identified or
produced

Any exhibits or documents listed by any other party in discovery or otherwise identified or produced

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Any exhibits attached to any depositions taken in the cause.

Defendant Officers’ Exhibits:

1. Arrest ticket of Plaintiff of September 23, 1998

2. Dispatch Tape and computer printout of calls to Officers (for entire event)

3. Dispatch Tape and computer printout of calls to Dispatcher (for entire event)
4. Log Sheets of all officers listed above as potential witnesses for September 23, 1998.
5. Memphis Police Department Policy and Procedures Manual

6. Training Records of Wong, Spearman, Dye and Johnson

7. Offense Report # 980906816

8. Shoot file S026-98

9. Photographs of Chelsea & Wells Station (part of above shoot file)

10. Photographs of Danny Deaton (part of above shoot file)

1 l. Roll Call Central "A" Shift

12. Roll Calls (from ISB file #1212-98)

13. OJI Report of Kam Wong dated 9/23/98

14. Dispatch tape and/or printout from ambulance service for Deaton

15. Division of Fire, EMS Report for Deaton 9/23/98

l6. Any document listed by any other party in disclosures, discovery or otherwise identified or
produced

17. Mug shot of Plaintiff taken 9/23/98.

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WITNESSES
Plaintiff:

Will Call:

Danny Deaton

May Call:

Jeffrey Keith Simpkins
Elmer Gray

Charles Benson

Lt. Comell Dye

Kam Wong

Joseph N. Johnson
Michael Spearman
Frank Amato

Andrew Nutt

Andrea Pruitt

M.L, Wilson

l. Jordan

P.A. Gianni

Cleveland Foster
J.FmT

Frank Hannah

Thomas Wood l\/IcLain

Richard Borden

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.lames H. Bolden
R. Melton

Paul Pritt
Richard A, Davis
J. Goad

G. Deel

D. Beckham
Terrell Hunt

R.L. Shemwell
Officer Murdock Dog Squad
F. Sousoulas

Sgt. P. Burnett
Sgt. W.L. Ashton
Sgt. Hendricks
Sgt. G.B. Blum
Sgt. J.R. Eldridge

The Medical Records Custodian
The Regional Medical Center at Memphis (The Med).

The representative of The Regional Medical Center at Memphis (The Med) who is qualified to
testify as to the reasonableness of the medical bills from the Regional Medical Center.

The Records Custodian
of Memphis Fire Department Ambulance

Fred G. Robinette, III
Robinette & Associates, Inc.

Patricia Burnett

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Russell Houston
Robert L. Harris
Scott Wilson

J ames Hall

Mark Collins
Rhonda Lee

Renee Lornandue
Ray A. Turner

Betty Winter

Bishop Mays
Raymond H. Hopkins
Larry Godwin

Jerry Walker, Manager
Alfreda Smith Davis
Sgt. J ames Oakley
Detective S. Boyett
Detective B. White
Detective R. Wafford
Sgt. F. Adarns
Detective S. Marshall
Sgt. L. Ross

Detective C. Mabon

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Detective C. Capps
Sgt. R. Mclntyer
W. Poteet

V. Macaraeg
.A(jmy

V Crutchfield
S Hicks

D. Colvin

G. Shull

R. Hence

W. Walker
M. Mclain

P. Lovett

D. Norman
D. Beckman
S. Lester

M. Bishop

T. Monistere
E. Ca_rlisle

C. Slaughter
J. Watkins

H. Moss

J. Donald

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M. Wilson

R. Bridges

M. Bach

P. Trernrnel

J. Poteet

R. Akines

R. Borden

Benjamin McCoy

Johnny Lee Neal

Larry Joseph Mikell

Danny Ray Lee

Delolia Wright

William Howlett

Walter Crews

Any 30(b)(6) witness identified by City of Memphis
Representative of City of Memphis Police Department Security Squad/Internal Affairs.

Any officers and/or investigators identified in the investigative reports generated as a result of the
arrest of Danny Deaton or alleged shooting of Officer Lowrance.

Any individual identified in the disciplinary files of officers, Spearrnan, Wong, Dye or Johnson.

Any custodian of records needed to testify as to the authenticity of any records or exhibits
identified by any party in their final disclosures

Any witness listed by any other party in their final disclosures or in this Pre-trial Order.

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Defendant Officers
May call:

1. Officer Cornell Dye

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. Officer Joseph N. Johnson
3. Officer Michael Spearman
4. Officer Kam Wong

5. Elmer Gray

6. Charles Benson

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. Joy Benson
8. Officer W. Poteet

9. Officer T. Hunt

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. Officer V. Macaraeg
10. Officer R. Melton
11. Officer A. Pruitt
12. Officer A. Gary

13. Officer V. Crutchfield
14. Officer S. Hicks
15. Officer D. Colvin
16. Officer G. Shull
17. Officer R. Hence
18. Officer W. Walker
19. Officer M. Mclain

20. Officer P. Lovett

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21 . Officer D. Norman
22. Officer D. Beckham
23. Officer S. Lester
24. Officer M. Bishop
25. Officer R. Davis
26. Officer J . Jordon
27. Officer T. Monistere
28. Officer E. Carlisle
29. Officer A. Murdock
30. Officer C. Slaughter
31. Officer J. Watkins
32. Officer .l. Goad

33. Officer P. Giannini
34. Officer H. Moss

35. Officer J. Donald
36. Officer M. Wilson
37. Officer G. Deel

38. Officer R. Bridges
39. Officer F. Hannah
40. Officer C. Foster

41 . Officer M. Bach

42. Officer F. Amato

43. Officer J. Farr

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44. Officer T. l\/chain
45. Officer F. Sousoulas
46. Officer P. Tremmel
47. Officer P. Pritt

48. Officer J. Poteet
49. Officer R. Akines
5(). Officer A. Nutt
51. Officer R. Borden
52. Danny Deaton

53. Jeffrey Simpkins
54. Benjamin McCoy
55. Larry Mikell

56. Johnny Neal Lee
57. Danny Lee

58. Officer R. Moore
59. Officer J. Oakley
60. Robert L. Harris
61. Scott Wilson

62. lames Hall

63. Mark Collins

64. Rhonda Lee

65. Renee Lomandue

66. Alfreda Davis

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67. Officer R.W. Sojourner
68. Officer S.M. Johnson
69. Officer S. Cook

70. Officer R.L. Mclntyre
71. Officer W.C. Sweet
72. Officer H.J. Harris

73. Officer C.R. McCall
74. Officer J.R. Eldridge
7'5. Officer C.S. Sanders
76. Officer J.l\/I. Ryall

77. Officer C.L. Hendricks
78. Officer R.L. Shemwell
79. Officer T. Helldorfer
80. Officer G.B. Blum

81. Officer S.A. Tracy

82. Officer B. Jennings
83. Officer S.H. Johnson
84. Laura Horton

85. Jererny Self

86. Terry Avery

87. Laura Hodges

88. Jackie Willis

89. Custodian of the Records Shelby County Jail

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90. Custodian of the Records Shelby County Sheriffs Office Bureau of Identification
91. Custodian of the Records City of Memphis Police Department

92. Custodian of the Records City of Memphis Police Communications

93. Custodian of Records Memphis Police Training Academy

94. Custodian of the Records General Sessions Criminal Court Clerk's Office

95. Custodian of the Records Criminal Court Clerk's Office

96. Any witness listed by any other party

DEPOSITION TESTIMONY
Plaintiff Deposition Testimony:

Plaintiff Will Read:

Dr. Michael Davis (entire examination by Plaintist counsel)

Plaintiff May Read all or portions of the following depositions:
Lt. Cornell Dye
Kam Wong

Joseph N. Johnson
Michael Spearman
Lt. Patricia Burnett
Mark Collins
Rhonda Lee

Renee Lamondue
Russell Houston
Robert L. Harris

James Hall

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Scott Wilson
Any other representative of the Defendants who were deposed in this cause.
Depositions to be read by Defendants:
None will be offered in lieu of a witness by Defendants. Defendants reserve the right to use
portions of any depositions taken in this cause depending on the case presented by Plaintiff
during the trial.

M
This is a jury trial which is estimated to last 2-3 days.

AMOUNT OF ASCERTAINABLE DAMAGES
Medical Bills total $5,385.93.
City of Memphis EMS Ambulance bill $250.00
SPECIAL EOUIPMENT

Audio-cassette tape recorder/player
VHS Video Player with Monitor or Screen
Digital Projector with Screen
Elmo projector

Laptop Computer (possible)

SO ORDERED:

J NIEL BREEN \
t ED sr TEs DlsTRICT JUDGE

DATE: .,Q.,.} llf 1005

 

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Approved:

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aetna n RRY RoEss,/#rzs@

Attorney for Plaintiff

81 Monroe Avenue, 6th Floor

Memphis, Tennessee 38103

  

;\ lhwca §§ i;iwv\c-dw~ @`/ @
THOMAS E. HANSOM #8153
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